Case 1:03-cV-01225-.]DB-tmp Document 30 Filed 06/09/05 Page 1 of 3 Page|D 59

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WESTERN DISTRICT oF TENNESSEE 95 JUN -9 PH w 32
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Vlt'D. (‘J¢* '_§'N fair WFH-IS'
ERIC NAsH, )
)
Plaintiff, )
)
vs. ) civil Aerion No.:1:03-1225- B/P
)
CoRRECTIoNS CoRPoRATloN )
oF AMERICA, et al., )
)
Defendants. )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable with the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005.

Dated:this § dayof june ,2005_

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UNITED STA'I`ES-B-I~ST'RI'€:F'JUDGE

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With Flufe 58 and/or 79(3) FRCP on ' “'

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:03-CV-01225 Was distributed by faX, mail, or direct printing on
.lune 13, 2005 to the parties listed.

 

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Case 1:03-cV-01225-.]DB-tmp Document 30 Filed 06/09/05 Page 3 of 3 Page|D 61

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Honorable .l. Breen
US DISTRICT COURT

